         Case 1:20-cv-03205-MKD          ECF No. 25   filed 10/25/21   PageID.562 Page 1 of 3

                                                                                     FILED IN THE
                                                                                 U.S. DISTRICT COURT
                                                                           EASTERN DISTRICT OF WASHINGTON

 1
                                                                            Oct 25, 2021
                                                                                SEAN F. MCAVOY, CLERK
 2

 3

 4                          UNITED STATES DISTRICT COURT

 5                        EASTERN DISTRICT OF WASHINGTON

 6   RUBY H. o/b/o JAG, a minor child,1                   No. 1:20-cv-03205-MKD

 7                          Plaintiff,                    ORDER GRANTING
                                                          STIPULATED MOTION FOR
 8   vs.                                                  REMAND PURSUANT TO
                                                          SENTENCE FOUR OF 42 U.S.C. §
 9   KILOLO KIJAKAZI, ACTING                              405(g)
     COMMISSIONER OF SOCIAL
10   SECURITY, 2                                          ECF Nos. 23, 24

11                         Defendant.
              Before the Court is the parties’ Stipulated Motion for Remand, ECF No. 24,
12
     requesting remand of the above-captioned matter to the Commissioner for
13

14   1
         To protect the privacy of plaintiffs in social security cases, the undersigned

15   identifies them by only their first names and the initial of their last names. See

16   LCivR 5.2(c).

17   2
         Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,

18   2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo

19   Kijakazi is substituted for Andrew M. Saul as the defendant in this suit. No further

20   action need be taken to continue this suit. See 42 U.S.C. § 405(g).



     ORDER - 1
      Case 1:20-cv-03205-MKD       ECF No. 25   filed 10/25/21   PageID.563 Page 2 of 3




 1   additional administrative proceeding pursuant to sentence four of 42 U.S.C. §

 2   405(g). Attorney D. James Tree represents Plaintiff. Attorney Joseph Langkamer

 3   represents Defendant. The parties have consented to proceed before a magistrate

 4   judge. ECF No. 10.

 5         After consideration, IT IS HEREBY ORDERED that:

 6         1. The District Court Executive is directed to substitute Kilolo Kijakazi as

 7   the Defendant and update the docket sheet.

 8         2. The parties’ Stipulated Motion for Remand, ECF No. 24, is GRANTED.

 9         3. The above-captioned case be REVERSED and REMANDED to the

10   Commissioner of Social Security for further administrative proceeding pursuant to

11   sentence four of 42 U.S.C. § 405(g).

12         The parties have stipulated to the following:

13         On remand, the Appeals Council will instruct the ALJ to:

14            • Reconsider the medical opinions and prior administrative medical

15               findings;

16            • Provide Plaintiff an opportunity for a new hearing;

17            • Reevaluate, as appropriate, the case under the three-step sequential

18               evaluation; and

19            • Issue a new decision.

20   See ECF No. 24 at 2.



     ORDER - 2
      Case 1:20-cv-03205-MKD      ECF No. 25   filed 10/25/21   PageID.564 Page 3 of 3




 1         3. Judgment shall be entered for PLAINTIFF.

 2         4. Plaintiff’s Motion for Summary Judgment, ECF No. 23, is STRICKEN

 3   AS MOOT.

 4         5. Upon proper presentation, this Court consider Plaintiff’s application for

 5   fees and expenses under the Equal Access to Justice Act, 28 U.S.C. § 2412(d).

 6         The District Court Executive is directed to enter this Order, enter

 7   Judgment, forward copies to counsel, and CLOSE THE FILE.

 8         DATED October 25, 2021.
                                 s/Mary K. Dimke
 9                              MARY K. DIMKE
                    UNITED STATES MAGISTRATE JUDGE
10

11

12

13

14

15

16

17

18

19

20




     ORDER - 3
